Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 1 of 30 Pageid#: 1
                                                              10/17/2017




                                                                3:17CV00074
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 2 of 30 Pageid#: 2
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 3 of 30 Pageid#: 3
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 4 of 30 Pageid#: 4
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 5 of 30 Pageid#: 5
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 6 of 30 Pageid#: 6
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 7 of 30 Pageid#: 7
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 8 of 30 Pageid#: 8
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 9 of 30 Pageid#: 9
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 10 of 30 Pageid#: 10
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 11 of 30 Pageid#: 11
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 12 of 30 Pageid#: 12
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 13 of 30 Pageid#: 13
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 14 of 30 Pageid#: 14
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 15 of 30 Pageid#: 15
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 16 of 30 Pageid#: 16
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 17 of 30 Pageid#: 17
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 18 of 30 Pageid#: 18
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 19 of 30 Pageid#: 19
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 20 of 30 Pageid#: 20
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 21 of 30 Pageid#: 21
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 22 of 30 Pageid#: 22
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 23 of 30 Pageid#: 23
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 24 of 30 Pageid#: 24
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 25 of 30 Pageid#: 25
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 26 of 30 Pageid#: 26
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 27 of 30 Pageid#: 27
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 28 of 30 Pageid#: 28
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 29 of 30 Pageid#: 29
Case 3:17-cv-00074-GEC Document 1 Filed 10/17/17 Page 30 of 30 Pageid#: 30
